      Case 3:17-cr-00499-M Document 4 Filed 10/12/17                   Page 1 of 3 PageID 8


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


UNITED STATES OF AMERICA                          '
                                                  '
v.                                                '            No. 3:17-CR-499-M
                                                  '
ERIC GERARD McGINNIS                              '


                                   MOTION FOR DETENTION

        The United States moves for pretrial detention of the defendant, Eric Gerard

McGinnis, pursuant to 18 U.S.C. ' 3142(e) and (f).

        1.   Eligibility of Case.      This case is eligible for a detention order because the

case involves (check all that apply):

                                 Crime of violence (18 U.S.C. ' 3156);

                                 Maximum sentence life imprisonment or death

                                10 + year drug offense

                                 Felony, with two prior convictions in above categories

                                Serious risk defendant will flee

                                 Serious risk obstruction of justice

                                 Felony involving a minor victim

                       X         Felony involving a firearm, destructive device, or any other

                dangerous weapon

                                 Felony involving a failure to register (18 U.S.C. ' 2250)

Motion for Detention - Page 1
      Case 3:17-cr-00499-M Document 4 Filed 10/12/17                 Page 2 of 3 PageID 9


        2.   Reason for Detention.        The Court should detain defendant because there are

no conditions of release which will reasonably assure (check one or both):

                                   Defendant=s appearance as required

                       X          Safety of any other person and the community

        3.   Rebuttable Presumption.         The United States will invoke the rebuttable

presumption against defendant because (check one or both):

                                 Probable cause to believe defendant committed 10+ year drug

offense or firearms offense, 18 U.S.C. ' 924(c)

                                  Probable cause to believe defendant committed a federal

crime of terrorism, 18 U.S.C. ' 2332b(g)(5)

                                 Probable cause to believe defendant committed an offense

involving a minor, 18 U.S.C. '' 1201, 2422

                                Previous conviction for Aeligible@ offense committed while on

pretrial bond

        4.   Time For Detention Hearing.         The United States requests the Court conduct

the detention hearing,

                                    At first appearance

                       X            After continuance of 1 day(s).




Motion for Detention - Page 2
     Case 3:17-cr-00499-M Document 4 Filed 10/12/17          Page 3 of 3 PageID 10


        DATED this 12th day of October 2017.

                                         Respectfully submitted,

                                         JOHN R. PARKER
                                         UNITED STATES ATTORNEY


                                          s/Brian McKay
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2017, a copy of the foregoing was served on
the defendant or counsel for the defendant in accordance with the Federal Rules of
Criminal Procedure.
                                           s/Brian McKay
                                          BRIAN McKAY
                                          Assistant United States Attorney




Motion for Detention - Page 3
